UNITED STATES DISTRICT COURT
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CHECKMATE.COM, INC.
Plaintiff, Case No. 1:25-CV-03181(JMF)
V.
DECLARATION OF SERVICE
ARJUN VASAN
Defendant.

I, Deborah J. Meyers, am over 18 years of age and not a party to this action.

On June 20, 2025, I caused to be served by first class mail a true and correct copy of
Plaintiff's Response in Opposition to Defendant’s Letter Motion to Stay in this action, upon the
following:

Arjun Vasan
12615 193" Street

Cerritos, CA 90703
(562) 900-6541

Arjun. vasan@gmail.com
Defendant Pro Se
I declare this 20" day of June, 2025, under the penalties of perjury under the laws of New
York, which may include a fine or imprisonment, that the foregoing is true and I understand that
this document may be filed in an action or proceeding in a court of law.

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Deborah J. Meyers

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